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EXHIBIT A
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Ptate of Not Jersey

Department of Environmental Protection

PHILIP D. MURPHY P.O, Box 420 CATHERINE R, MeCABE
Governor Trenton, New Jersey 08625 Commnissioner
SHEILA ¥-OLIVER
Lt. Governor

IN THE MATTER OF POLY- AND PERFLUOROALKYL
SUBSTANCES (PFAS) GENERATED BY:

__ SOLVAY SPECIALTY POLYMERS USA, LLC;
SOLVAY SOLEXIS, INC.;
E.L, DU PONT DE NEMOURS & COMPANY; .
DOWDUPONT, INC; :
DUPONT SPECIALTY PRODUCTS USA, LLC; :
THE CHEMOURS COMPANY FC, LLC; :
THE CHEMOURS COMPANY; and, ;
THE 3M COMPANY

STATEWIDE PFAS DIRECTIVE,
INFORMATION REQUEST
AND NOTICE TO INSURERS

This Directive, Information Request, and Notice to Insurers (hereafter, Directive”) is Issued
pursuant to the authority vested in the Commissioner of the New Jersey Department of Environmental
Protection (“Department”) by NJ.S,A, 13:1D-1 et seq., the Spill Compensation and Control Act (“Spill Act”),
NS.A. 58:10-23,11 et seq,, the Water Pollutlon Control Act (“WPCA”), N.J.S.A. 58:10A-1 et seq,, the Alr
Pollution Control Act (“APCA”), NJ.S.A. 26:2C-1 et seq., and the Solld Waste Management Act ("SWMA")
NJS.A, 13:1E-1 et seq., to Solvay Specialty Polymers USA, LLC and its predecessor Solvay Solexis, Inc.
(collectively, “Solvay”), El du Pont de Nemours & Company, (“DuPont”), DowDuPont, Inc.
(“DowDuPont’}, DuPont Specialty Products USA, LLC, The Chemours Company FC, LLC (“Chemours FC,
LLC’), The Chemours Company (“Chemours”} and The 3M Company (“3M”) (collectively, the
“Respondents”) to notify them that the Department believes them to be responsible for the significant
contamination of New Jersey’s natural resources, including the alr and waters of the State, with poly- and
perfluoroalkyl substances (“PFAS”), including perfluorononanoic acid (“PFNA”), perfluorooctanoic acid
(“PFOA”), and perfluorooctanesulfonic acid (“PFOS”}, and their replacement compounds, including but
not Iimited to “GenX”,

PFAS are belng discovered in drinking water, groundwater, surface waters, sediments, soils, air,
fish, plants, and other natural resources across New Jersey on a near daily basis. These PFAS compounds
constitute a substantial threat to human health and the environment and a statewide public nuisance:
they are extremely resistant to degradation and thus persist indefinitely in the environment; they
bloaccumulate; they are commonly contained in consumer and household products; and contamination
from PFAS is now ubiquitous in New Jersey. While Respondents and their predecessors in Interest have
understood the toxic characteristics of PFAS for decades, regulatory agencies around the world are only
now coming to understand the true nature and dangers of these global contaminants, As further detailed
below, the Department has expended and will continue to expend tremendous resources to Identify and
investigate the presence of PFAS in New Jersey's environment, as well as to monitor, treat, clean up,
and/or remove PFAS in impacted areas. As a result, the Department has determined that It is imperative

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to the protection of public health and safety and the environment of New Jersey that such investigation,
monitoring, testing, treatment, cleanup and removal continue, and that Respondents, not New Jersey
residents, pay for these activities,

To protect public health and the environment, the Department requires a full understanding of
Respondents’ historical development, manufacture, transport, use, storage, release, discharge, and/or
disposal of PFAS in New Jersey. The Department likewise requires an immediate understanding of
Respondents’ current development, manufacture, transport, use, storage, release, discharge, and/or
disposal of any chemical replacements for PFAS in New Jersey. While these replacement chemicals have
been touted as short-chain and having shorter half-lives, some may have similar toxicity and, Ike their
predecessors, they do not break down in the environment and have also been detected In drinking water,
groundwater and surface waters in New Jersey. Therefore, the Department Is directing that Respondents
provide a complete accounting of their historical and current activities with respect to these chemicals in
New Jersey,

Under the Spill Act, WPCA, SWMA, and APCA, the Respondents are responsible for PFAS—
Including PFNA, PFOA, PFOS and thelr replacement PFAS compounds—that have been discharged or
released Into New Jersey’s air, water and other natural resources, as set forth below.

FINDINGS

A, PFAS Contamination In New Jersey

PFAS: Contaminants of Emerging Concern

4. Poly- and perfluoroalkyl substances, collectively referred to as PFAS, are man-made chemicals
manufactured and used in the United States since the 1940s, PFAS have flre-resistant properties
and act as oll, grease and water repellants. They have been used to make numerous household
products, including name brands such as Stainmaster®, Scotchgard®, Teflon®, Gore-Tex®, and
Tyvek®, PFOS has long been used in aqueous film-forming foam (“AFFF”) used to fight fires. There
are literally thousands of PFAS compounds.

2. PFAS are highly persistent In the environment and are resistant to metabolle and environmental
degradation processes. They are also bioaccumulative, resulting in the buildup of these toxins in
living tissue. As a result, people exposed to these substances through drinking water or other
means accumulate increasing concentrations of PFAS in their blood. Some PFAS are classified as
likely human carcinogens, Studies show that exposure to PFAS may cause testicular cancer,
kidney and Ilver cancer, and autoimmune and endocrine disorders in adults as well as
developmental effects to fetuses during pregnancy or to breastfed infants, Other associated
human health effects Include reduced vaccine response, and increased cholesterol and liver
enzymes,

3, DuPont and 3M knew of the health and environmental impacts of PFAS for decades but continued
to use them In products and to release them into the environment, 3M knew that PFOA and PFOS
were harmful to people and the environment, Including based on its own studies from as early as
the 1970s, 3M also knew that the chemicals could leach into groundwater and contaminate the
environment. DuPont knew for decades that PFOA was toxic, including through studies of its own
workers, DuPont also knew that PFOA was being discharged Into the environment, but failed to
disclose the risks to regulators or the public. Likewise, through its membership in an industry

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trade group that conducted toxicology studies on PFNA In the 2000s, Solvay knew or should have
known of the adverse effects of PFNA axpasure. Solvay knew that ft was discharging large
amounts of PFNA into the environment from their West Deptford, New Jersey facility at least as
early as 1991.

4. The United States Environmental Protection Agency (“EPA”) has Identified PFAS as “emerging
contaminants,” which are currently unregulated at the federal level, [n 2009, EPA issued
preliminary health advisory values for PFOA and PFOS in drinking water of 4Q0 parts per trillion
(“ppt”) and 200 ppt, respectively, In 2016, EPA reduced its advisories for the chemicals in drinking
water to 70 ppt, combined. Other federal agencies have suggested drinking water values should
be much lower. Then, in-2018, the U.S. Department of Health and Human Services, Agency for
Toxic Substances and Disease Registry (“ATSDR”) released draft minimurn risk levels—the amount
of a chemical a person can eat, drink or breathe each day without a detectable risk to health—~for
PFOA and PFNA equivalent to 24 ppt, and for PFOS 14 ppt.

A. Ragulation of PFNA, PFOA and PFOS.

5. In the absence of actlon at the federal level to meaningfully regulate these contaminants of
emerging concern, New Jersey has acted to protect its citizens and environment and to regulate
PFNA, PFOA and PFOS, including by seeking to establish Maximum Contaminant Levels (“MCLs”)
and Groundwater Quality Standards (“GWQS”) for these chemicals, and to add these chemicals
to the Department's List of Hazardous Substances at N.J.A.C, 7:1£-Appendix A, as well as taking
other necessary actions.

6. The New Jersey Drinking Water Quality institute (“DWOI”) Is established pursuant to the Safe
Drinking Water Act ("SDWA”)}, N.JS.A, 58:12A-1 et seq. It is an advisory body that, among other
items, provides the Department with maximum contaminant level recommendations for New
Jarsey-specific drinking water contaminants.

7. The Department establishes MCLs at N.LA.C. 7:10 pursuant to the SDWA to protect the public
against consumption of drinking water contaminants that present a risk to human health. N.JS.A.
58:12A4-13(b). MCLs apply to public community and public non-community water systems, which
are required to monitor for contaminants for which MCLs have been established, and to take
actions to reduce contaminant levels or other appropriate actions when there is an exceedance

“of the MCL.

8. GWOS are set forth at N.LA,C. 7:9C and are Implemented as limits on discharges to groundwater
pursuant to the New Jéersay Pollutant Discharge Elimination System (NJPDES) rules, N.LA.C. 7:14A,
and as groundwater remediation standards, NJ.A.C. 7:26D-2,2{a},

9, fn July, 2015, DWQI recommended to the Department that an MCL for PFNA of 13 ppt be
astablished, and on November 25, 2015, the Department established an interim GWQS for PFNA
of 10 ppt pursuant to NJLA.C. 7:9C-1.7(c}.

10

In March 2017, after public comment and a vote, DWQI recommended to the Department that
an MCL for PFOA of 14 ppt be established.

11, In November 2017, after public comment and a vote, DWQt recommended to the Department
that an MCL for PFOS of 13 ppt be established.

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12. On January 16, 2018, the Department adopted a specific GWQS for PFNA of 10 ppt and added
PFNA to the Department's List of Hazardous Substances (see 50 NLR. 334{a)),

43. On September 4, 2018, consistent with the recommendation of DWQ], the Department adopted
an MCL for PPNA of 13 ppt (see 50 N.J.R, 1939(a}).

44. On January 17, 2019, the Department solicited public input and posted on Its website technical
documents in support of Its draft Interim Specific Groundwater Quality Criterla for PFOA and PFOS
of 10 ppt. See hitys://www.nLeov/dep/dsr/ISGWOC Public Comment PFOS PFOA.htm).

45. On March 13, 2019, the Department established interim specific groundwater quality criteria for
PFOA and PFOS of 10 ppt, pursuant to NJAC  7:9C1,7(c). See
https://ni.zov/dep/wms/bears/gwas.htm, These interim specific criteria became effective on
posting to NJDEP’s website, and will remain in effect until replaced with specific criteria. NW.A.C,
7:9C-1,7{c}til).

16. The Department has submitted to the Office of Administrative Law a notice of proposed rule
amendments concerning PFOA and PFOS, which is anticipated to be published in the New Jersey
Register on April 1, 2019. The Department will propose amending the Safe Drinking Water Act
rules establishing MCLs for PFOA of 14 ppt and for PFOS of 13 ppt; establishing groundwater
quality criterla standards for PFOA of 14 ppt and PFOS of 13 ppt; and adding PFOA and PFOS to
the List of Hazardous Substances.

B. PFAS Contamination In New Jersey

17. The Department's first statewide occurrence study of PFAS in drinking water In 2006, which
focused on PFOA and PFOS near facifitles that used, handled, stored and/or manufactured PFOA
and/or other chemicals, revealed that, out of the 23 drinking water sources sampled, PFOA and
PEOS were detected in 65-percent and 30-percent of the systems tested, respectively.

18. In order to gain further knowledge on the occurrence of PFOA, PFOS and other PFAS in New
Jersey's drinking water sources, the Department initiated a second occurrence study in 2009 and
early 2010. The results of this second occurrence study revealed that, out of 33 drinking water
samples from 20 of New Jersey’s 21 counties, between one and eight PFAS compounds were
detected in 70-percent of the samples, In the samples tested, PFOA was detected in 57-percent
(up to 100 ppt), PFOS was detected in 30-percent (up to 43 ppt), and PFNA was found at the
highest reported level in drinking water anywhere In the world, at 96 ppt.

19. The Department ls continuing to study PFAS compounds and their impact on New Jersey's
environment. In 2018, the Department performed an assessment of 13 PFAS,compounds In the
ecosystems of 11 waterways across New Jersey, which included analyzing surface water, sediment
and fish tissue samples. The results of this study revealed all surface water samples and most
sediment samples to have multiple PFAS compounds, Fish from all waterbodies also contained
PEAS compounds, resulting In the need for the Department to issue more restrictive fish
consumption advisories for 10 of these sites.

20, As of March 19, 2019, 564 of 1,069 public water systems (53-percent) have reported the results
of PFAS sampling under'N,J.A.C. 7:10-5, 70 public water systems not previously identified through

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ather sampling events ~ 12-percent of the public water systerns reporting ~ reported levels at or
above the recommended MCL for PFNA, PFOA, PFOS, or a combination of the three. Prior to the
first quarter monitoring required by N,J.A.C 7:10-5 described above, another 46 water systems
reported levels at or above the recommended MCLs for PFNA, PFOA, PFOS or a combination of
the three,

21. The Department has also sampled for PFAS as part of remedlal investigations in specific locations
around the State, Including 992 private wells sampled as of June 2018, Through this targeted
effort, the Department has detected PFOA In-427 private wells -- or 43-percent of the wells
sampled ~ and 284 private wells were found to have levels of PFOA exceeding the proposed MCL.
PFOS was found in 304 private wells — or 31-percent of the private wells tested — with detections
at 40 wells above the proposed PFOS MCL. As of April 3, 2018, out of the 400 wells sampled as -
part of the remedial investigation emanating from Solvay’s site, 83 wells - 24-percent — required
installation of a point of entry treatment (“POET”) system far PFNA or PFOA, -

C. Responsible Parties

22, Respondents are responsible for the significant PFAS contamination across New Jersey and the
costs the Department has incurred, and will incur, responding to this threat to public health,
safety and the environment.

4. Solvay

23, Solvay Specialty Polymers USA, LLC (and its predecessor Solvay Solexis, Inc.) (collectively “Solvay")
is a Delaware Corporation with Its principal place of business at 10 Leonard Lane, West Deptford,
New Jersey.

24. Solvay {formerly known as Ausimont USA, Inc.) has been the owner and operator of a
manufacturing facility located at 10 Leonard Lane and Crown Point Road, Block 328, Lots 1.04 and
1.07 on the tax maps of West Deptford Township, Gloucester County, from 1990 to the present
(the “Solvay Site”), From approximately 1990 to 2012, Solvay manufactured polyvinylidene
fluoride ("PVDF") at this facility, which Is a specialty plastic that is utillzed In conjunction with
lithium batteries, medical and defense uses, semi-conductors, or other instances when a higher
level of purity1s required. During most of this time, Surfion $-111 was used In the manufacturing
process for PVDF, Surflon $-114 ts composed of approximately 74% PFNA. Solvay’s facility was
considered to have the second highest capacity in the world for purposes of using Surflan 5-114
to make PVDF. As a result of Solvay’s operations at the facility, it discharged massive amounts of
the Surflon $-141 (primarily, PFNA) into the surrounding air and water. The site, off-site
properties, and New Jersey's natural resources, including air, surface waters, groundwater, and
drinking water sources, are contaminated with PFNA.

25, Additionally, Solvay also used sodium perfluorooctanoate (NaPFO) as a surfactant at its facility,

The NaPFO (which is a salt of PFOA) was supplied to Salvay by 3M. NaPFO degrades into PFOA.

The site and surrounding area are also contaminated with PFOA as a result of Salvay’s activities

at the faclfity,

26, As of March 19, 2019, out of the 400 wells sampled as part of the remedial investigation around
the Solvay Site, 83 wells ~21-percent ~ required installation of a POET system for PFNA or PFOA.
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27, Currently, Solvay Is using a replacement chemical for PFNA for use in the manufacture of its
polyvinylidene product. This compound, identified In Wang, 2013, as “Solvay’s product” (CAS No.
329238-24-6) Is a chloro perfluora polyather carboxylate and has been identified in
environmental matrices in Salem and Gloucester Counties.

2. DuPont / DowDuPont
28. DuPont Is a Delaware Corporation with its principal place of business in Witmington, Delaware.
DowDuPont Is a Delaware Corporation with its principal place of business in Wilmington,

Delaware.

29

DuPont owned and operated Chambers Works, 67 Canal Road and Route 130, located in
Pennsville and Carneys Point Townships, Salem County, from 1894 to 2015. PFOA was used at
Chambers Works beginning In the late 1950s, At varying times PFOA was used to, among other
things, manufacture fluoroelastomers, perfluoroelastomers and specialty fluoroslastomers used
in a variety of consumer and other products for their chemical non-stick and heat-resistant
properties. Telomers were also used and manufactured at Chambers Works, and PFOA is a by-
product of the telomer manufacturing process, DuPont also accepted large quantities of PFOA-
containing waste from off-site facilities, including its Washington Works facility In Parkersburg,
West. Virginia, and discharged this waste along with wastewater from its on-site PFOA-related
processes through Its wastewater treatment plant. As a result of the above, DuPont has
discharged PFOA as well as other PFAS, including PFNA, from Chambers Works for decades, which
has contaminated the site and the surrounding area.

30. As set farth below, DuPont spun-off its “performance chemicals” business IInes (including Teflon
and various other products associated with PFAS constituents} by creating Chemours on July 1,
2015, As part of a series of related transactions, DuPont also transferred its Chambers Works
property to Chemours FC, LLC at that time. Nonetheless, DuPont continued to operate an
industrial facility on the Chambers Works property, manufacturing aramids and fluoroelastomers
on a portion of the Chemours Chambers Works site pursuant to an industrial lease (whereby
DuPont was the tenant and Chemours FC, LLC was the landlord), In March of 2018, DuPont
announced that would cease production of aramids on its Chambers Works leasehald but that It
would continue ta produce fluoroelastomers on the Site.

31. With respect to the area surrounding Chambers Works, sampling of residential drinking water
wells in the area has revealed contamination at least flve miles away from the facility. In total,
341 Individual drinking water wells have been sampled, and 168 have exceeded applicable
screening criteria, based on the concentrations of PFOA, PFNA, or PFOA and PFOS combined.
GenX was also detected in residential drinking water, Investigation of contamination in this area,
aside from these selected wells, remains necessary in order to fully assess impacts to
groundwater, surface water, soils, sediments and blota.

32. Additionally, DuPont has been the owner and operator of Its Parlin Facllity, located at 250
Cheesequake Road, Sayreville Borough, Middlesex County since 1904, Currently, some or all of
the facility-Is owned by another DuPont entity, DuPont Specialty Products USA, LLC. Beginning in
the late 1970s, DuPont blended fluoropolymers at its Parlin facility, and produced Tefion® finishes.
As a result of these activities PFOA was released Into the environment from the facility. In 2006
and 2007, DuPont discovered PFOA releases, both on-site and off-site, Among other things, those
releases have contaminated groundwater, Including off-site. In an email dated February 4, 2015,

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DuPont provided sampling results to the U.S, Environmental Protection Agency and the
Department of sampling conducted in several groundwater monitoring wells at the DuPont Parlin
facility, Those results show that GenX was detected in several groundwater monitoring wells at
the DuPont Parlin facility, Also, previous sampling of finished water at the Perth Amboy Wellfield
has documented the presence of PFOA at concentrations both above and below the Department's
Interim Specific Ground Water Quality Standard (ISGWQS) of 10 ppt; individual supply wells may
excead the PFOA ISGWOQS. The Perth Amboy Wellfield is located approximately one and a half
miles south of the Parlin facility.

33, DuPont also manufactured PFOA in North Carolina that was then transported, used, disposed of,
or discharged in New Jersey, further mating It In any way responsible for such contamination.
After 3M decided to stop manufacturing PFOA due to its toxtcity, DuPont began producing Its own
feedstock of the chemical in 2002. DuPont manufactured PFOA until replacing tt with Genx.
DuPont manufactured and utilized GenX until transferring its performance chemicals business and
liabilities to Chemours.

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in 2017, DuPont merged {nto a direct subsidiary of DowDuPont, Inc., becoming owned and
controlled by DowDuPont. DowDuPontis restructuring and moving the vast majority of the assets
of DuPont to itself and other entitles, which It will spin off into independent, publicly traded
entities, These transactions, along with the transfer of the Parlin Site to DuPont Specialty Products
USA, LLC and the Industrial lease at Chambers Works, may trigger the requirements of the
Industrial Site Recovery Act, NJSA. 13:1K-6, et seq. (“ISRA”), which would require the
establishment of an appropriate remediation funding source, among other requirements.

3. The Chemours Entities

35, The Chemours Company is a Delaware Corporation with its principal place of business in -
Wilmington, Delaware, The Chemours Company FC, LLC Is a Delaware Limited Liability Company
with its principal place of business In Wilmington, Delaware.

36. in 2013, confronted with mounting PFAS Habilitles, DuPont announced its plans to spin off its
performance chemicals business into a separate publicly traded company, Chemours. [n order to
effectuate the spin off and transfer of certain assets and liabilities, a number of corporate entitles
were created. in 2014, Chemours FC, LLC was created, In 2015, DuPont transferred ownership of
the Chambers Works property to Chemours FC, LLC. Following the spin-off, Chemours FC, LLC
became a subsidiary of Chemours, Chemours FC, LLC remains the owner of the Chambers Works
property, while Chemours operates the site. The Chemours transactions may have also triggered
the requirements of ISRA, which would require the establishment of an appropriate remediation
funding source, among other requirements,

37. Chemours FC, LLC, as well as Chemours, accepted the transfer of Chambers Works knowing that
the site was contaminated with PFOA and other PFAS, that PFAS was discharged at the site, that
there was PFAS contamination in the surrounding area, that remediation of the site and the
surrounding area would be required as a result of this contamination, and that funds would need
to be available for the same.

38. Additionally, since Chemours FC, LLC became the owner and Chemaurs the operator of Chambers
Works, PFOA and other PFAS continue to be discharged at the site.
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39, Further, Chemours has agreed to assume certain labilities of DuPont’s with respect to PFOA and
other PFAS,

40. Currently, Chemours Is using PFAS replacement chemicals, including GenX technology and
associated chemicals hexafluoropropylene oxide dimer acid (HFPO-DA) and Its ammonium salt, in
its manufacturing processes for Krytox® at Chambers Works, As a result of this process, HFPO-DA
is discharged into New Jersey's water and emitted into New Jersey‘s air.

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41. HPFOA-DA has been detected In residential drinking water wells surrounding Chambers Works.
4, The 3M Company
42. 3M is a Delaware Corporation with its principal place of business In St. Paul, Minnesota.

43, 3M isa person in any way responsible for PFOA and PFOS discharged In New Jersey as the primary
manufacturer of PFOA, which it supplied ta DuPont, Solvay and others, and PFOS, which were
bath discharged across New Jersey's environment,

44, 3M has bean Identified by the United States EPA as the dominant global producer of PFOA and
related chemicals, manufacturing approximately 85 percent or more of total werldwide volumes
of PFOA. 3M supplied PFOA to DuPont for use In its manufacturing processes until at least the
early 2000s. DuPont discharged this PFOA In New Jersey, including at Chambers Works and Its
Parlin faclilty, resulting In contamination of New Jersey's environment. 3M also supplied NaPFO
to Solvay, which it discharged In New Jersey's environment.

45. 3M was also a primary manufacturer of PFOS, and produced AFFF containing PFOS and PFAS, 3M
sold AFFF from the 1960s to the early 2000s, which was used at military bases, airports and
firefighting training facilities,

46. Use of AFFF In New Jersey has discharged PFOS and other PFAS Into New Jersey's environment.
For example, AFFF use at Joint Base McGuire-Dix-Lakehurst and FAA William J, Hughes Technical
Canter has resulted in significant contamination of surrounding drinking water sources and
natural resources, The Department’s efforts to identify sites where AFFF was used is ongoing.

D. New Jersey PFAS-Related Casts.

Costs Previously Incurred by the Department

47, As of March 4, 2019, the Department has incurred at least $3,105,084.91 to investigate, monitor,
test, treat, remediate, clean up and remove PFNA and PFOA from the area surrounding Solvay’s
facility In West Deptford, And, the Department continues to incur costs associated with PFNA and
PFOA ona daily basis.

48, The above-referenced costs do not Include all costs previously incurred by the Department, and
will be supplemented. Among other things, the Department may seek refmbursement from
Respondents for its statewide studies of the occurrence of PFAS and related research and the cost
of the Division of Scienca & Research’s labor on PFAS studies.
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Future Costs to be Incurred by the Department

49, The Department expects to incur hundreds of millions of dollars tn costs assessing and responding
ta the discharge of PFAS Into the environment of New Jersey.

50, The Department anticlpates incurring additional costs related to ongoing and new studies and
research projects to further assess the Impacts of PFAS on groundwater, surface waters, marine
and freshwater fish and other aquatic life, biota, and human health.

51. The Department anticipates Incurring costs to investigate, monitor, test, treat, remediate, clean

up and remove PFNA, PFOA and PFOS from New Jersey's drinking water and waste water systems.
52, The Department anticipates incurring costs to Investigate, monitor, test, treat, remediate, clean
up and remove PFNA, PFOA and PFOS from New Jersey’s private drinking water wells,

53. The Department anticipates incurring costs to Investigate, monitor, test, treat, remediate and
clean up and remove PFNA, PFOA and PFOS from New Jersey's natural resources, including
groundwater, surface water, soll, sediments and biota.

54, The above list of future costs the Department anticipates Incurring Is not exhaustive. Rather, this

list is meant ta provide a framework for estimating future costs related to PFNA, PFOA and PFOS

for the purposes of establishing a funding source for these costs to be maintained by

Respondents.

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DIRECTIVE

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The Department Is broadly empowered to take appropriate action to prevent the pollution of New
Jersey's environment and abate nulsances in connection therewith. NJ.S.A, 13:1D-9(e), The
Department Is also charged with enforcing New Jersey's environmental laws, including the Spill
Act, the WPCA, the SWMaA, and the APCA. The Department may direct persons to post a
performance bond or other security for the full estimated cost to correct violations of New
Jersey's environmental laws. N.J.S.A. 13:4D-9{u).

56. The substances referenced tn the paragraphs above are hazardous substances pursuant to the
Spill Act, NUS.A, 58:10-23,11(b), pollutants pursuant to the WPCA, N.JS.A. 58:10A-3(n), solid
waste pursuant to the SWMA, NJ.S.A, 13:1E-3(a) and air contaminants pursuant to the APCA,
NALS.As 26:2C+2.

57, The Department is authorized to seek and obtain Information from persons related to discharges

or potential discharges of pollutants into the waters of the State, discharges of hazardous

substances, disposal of solid waste, and releases of air contaminants, Pursuant to the WPCA, the

Department is empowered to assess a person’s compliance with the Act, and may request from

any person who has Information relevant to discharges of pollutants to provide certain documents

and/or Information to the Department, N.J.S.A. 58:10A-5(a)-(b), -10.3(a). Additionally, pursuant
to the Spill Act, persons who may be subject to liability for discharges must immediately notify
the Department of same. NJ.S.A. 58:10-23.11e, Further, pursuant to the APCA, the Department
is empowered to require the fillng of reports concerning Information related to emissions, and

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persons who cause a release of air contaminants which pose a potential threat to the public
health, welfare or the environment are obligated to Immediately notify the Department of same.
N.JLS.A. 26:2C-9(b)(3), -19{e},

58. Further, pursuant to the Spill Act, when a hazardous substance ls discharged, the Department may
act fn its discretion to clean up and remove or arrange for the cleanup and removal of the
discharge or may direct the discharger to clean up and remove, or arrange for the cleanup and
removal of, the discharge. NJ.S.A, 58:10-23.11f.a(4}, The Department is authorized to direct a
responsible party to pay for the cleanup and removal of the discharge prior te the Department
cleaning up and removing or arranging for the cleanup and removal of the discharge. The
Department Is also authorized to seek compensation for damages incurred by all parties injured
by these discharges, NJS.A, 58:10-23,41u.b, Any discharger that falls to comply with a directive
shall be liable to the Department in an amount equal to three times the cost of such a cleanup
and removal, and shall be subject to the revocation or suspension of any license issued or permit
held authorizing that person to operate a hazardous waste facility or solid waste facility. NJ.S.A.
58:10-23,11f.7.a(1).

59. Pursuant to N.J.S.A. 58:10-23.11g.c, any person who has discharged a hazardous substance or Is
in any way responsible for any hazardous substance, shall be strictly liable, jolntly and severally,
without regard to fault, for all cleanup and removal costs no matter by whom incurred. Such

"person shall also be strictly liable, Jointly and severally, without regard to fault, for all cleanup and
removal costs incurred by the Department.

60. Pursuant to NwS.A, 58:10-23.11p.c., Respondents are or will be persons who discharged a

hazardous substance or are In any way responsible for the discharge of a hazardous substance.
61, Respondents are persons whom the Department believes have, or may have, information relevant
toa discharge or potential discharge of hazardous substances and pollutants, the disposal of solid
waste and the release of air contaminants in a quantity or concentration which poses a potential
threat to public health, welfare or the environment.

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in accordance with the above, the Department hereby directs Respondents to take the following
actions,

Payment of Previously Incurred Costs

63. Solvay, within 30 days after receipt of this Directive, shail reimburse the Department for the
Department's previously incurred costs te investigate, treat, cleanup and remove PFNA, PFOA and
other PFAS at and the area around its West Deptford facility, as recounted In paragraph 47 and
48 above. Solvay shall pay $3,105,084.91 to the Department as reimbursement for the currently
calculated past costs incurred, :

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The Department hereby directs Solvay to assume responsiblity for operation and maintenance of
all of the POETs installed to address PFNA associated with the Solvay Site by taking the following
actions according to the following expedited site-specific timeframes, established pursuant to
N.LA.C. 7:26C-3.4, Note the timeframes specified herein do not represent an extension to any
past due tlmeframes and the Department reserves the right to pursue penalties back to the
original due dates:

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a. Solvay shall maintain a licensed site remediation professional for the remediation of the
entire Solvay Site, pursuant to NJ.A.C, 7:26C-2,3(a)2;

b, Solvay shall assume the monitoring and maintenance of the POET Systems at the Solvay Site
pursuant to NWLA.C, 7:26C-2.3, Including but not limited to the following:

1) As first priorities, Solvay shall conduct the follewing:

1) Within ninety (90) days after receipt of this Directive, assume operation and
maintenance of the POETS installed by the Department at the foflowing locations to
address PFNA contamination associated with the Solvay Site:

West Deptford Township, Gloucester County
1) Block 128, Lot 2, 1692 Crown Point Road: and

2) Block 351, Lot 8.03, 963 Kings Highway; and
3) Block 351, Lot 8.01, 965 Kings Highway.; and
4) Block 346.07, Lot 21.02, 643 Mantua Grove Road; and

5} Block 346,07, Lot 21.05, 639 Mantua Grove Road; and
6} Block 358, Lot 6.02, 667 Mantua Pike; and

7) Block 350,03, Lat 45, 1043 Kings Highway, and

8} Block 346.07, Lot 24.01, 619 Mantua Grove Road, and
9} © Block 325, Lot 7.02, 1752 Crown Point Road, and

10) Block 353, Lot.1.03, 350-352 Parkville Station Road, and
14) Block 354, Lot 1,03, 1098 Jessup Road, and

Greenwich Township, Gloucester County
12) Block 253, Lot 5, Greenwich Lake Park; and
13) Block 263, Lot 3, 665 Swedesboro Road, and

14) — Block 263, Lot 4, 625 Swedesboro Road, and
45} Block 255, Lot 1, 631 Swedesboro Road, and
16} Block 255, Lot 4, 656 Swedesboro Road, and
17) Block 261, Lot 4, 465 Swedesboro Road, and
18) - Block 249, Lot 1, 405 Tomlin Station Road, and
19) Block 358, Lot 6, 671 Mantua Pike, and

Logan Township, Gloucester County
20) Block 2804, Lot 8, 284 Pedricktown Road, and

241) Block 2801, Lot 8, 286 Pedricktown Road, and
22) Block 2801, Lot 8, 288 Pedrickton Road, and
23) —_ Block 2804, Lot 8, 290 Pedricktown Road, and
24) Block 2801, Lot 14, 300 Pedricktown Road, and
25) Block 43, Lot 8, 288 Floodgate Road, and

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26) Block 2304, Lot 5, 2510 Oidmans Creek Road, and

27) ~—- Block 504, Lot 28.02, 548 Route 44, and

28) Block 1003, Lot 14, 676 Oak Grove Road, and

29) Block 104, Lot 7, 104 Route 130, and _

30) = Block 2706, Lot 48, 2251 Township Line Road, and
} Block 3103, Lot 10, 42 Jackson Street, and

33) Block 1303, Lot 8, 32 Jackson Street, and
) Block 3103, Lot 5, 36 Jackson Street, and

Swedesboro Borough, Gloucester County
34) Block 2, Lot 15, 320 Floodgate Road, and Oldmans, Salem County

35) Block 11, Lot 7.01, 59 South Railroad Avenue, and
36) Block 14, Lot 7.03, 67 5. Railroad Avenue, and

37) Block 3, Lot 13, 187 N. Railroad Avenue, and

38} Block 28,01, Lot 61, 22 Seminole Lane, and

39) Block 28,01, Lot 35, 171 Straughns Mill Road, and
40} Block 28,01, Lot 37, 157 Straughns Mill Road.

i} Within ninety (90) days after receipt of this Directive, assume operation and
maintenance of the thirty (30) POETs installed by the Department at the
following locations to address PFOA contamination associated with the Solvay
Site:

Logan Township, Gloucester County

41) Block 502, Lot 5, 43 Floodgate Road

42} Block 605, Lot 8, 139 Repaupo Station Road

43) 605, Lot 17.01, 204 Repaupo Road

44} Block 1003, Lot 13.01, 738 Oakgrove Road

45} Block 1003, Lot 12.01 736 Oak Grove Road

46} Block 1003, Lat 3.04 82 Coontown Road

47) Block 11162, Lot 22, 2789 Route 322

48) Block 2801, Lot 11, 304 Pedricktown Road

49} Block 1102, Lot 21, 2799 Route 322

50) Block 3102, Lot 1, 133 Route 130
_ 54) Block 3102, Lot 9, 139 Route 130

52) Block 3102, Lot 3, 2537 Center Square Road

53) Block ___, Lot___, 137 Route 130 [To Be Updated]

54) Block 3101, Lot 10, 42 Jackson Street
55) Block 1304, Lot 8, 32 Jackson Street
)
)

56) Block 3103, Lat 9, 36 Jackson Street
57) Block 3163, Lot 7, 26 Jackson Street

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Swedesboro Borough, Gloucester County
58) Black__, Lot___, 324 Floodgate Road [To Be Updated]

Greenwich, Gloucester County
59) Block 255, Lot 1.01, 641 Swedesboro Road

Oldman’s Township, Salem County

60} Block 2801, Lot 56, 16 Pedricktown-Woodstown Road
61) Block 28.01, Lot 60, 18 Seminole Lane
62) Block 28.01, Lot 59, 6 Seminole Lane
63) Block 3, Lot 13, 191A North Railroad Avenue
64) Block-25, Lot 8,01, 158 Straughns Ml Road
65) Block 28.01, Lot 10, 52 Pedricktown-Woodstown Road
66) Block 28, Lot 27, 80 Tighe Road
67) Block 29, Lot 8.02, 162 Straughns Mill Road
- 68) Block 28, Lot 27.04, 379 Perkintown Road
69) Block 28.01, Lot 54, 24 Seminale Lane
70) Block, Lot___, 178 Pedricktown-Waodstown Road [TO BE UPDATED)

c) Within ninety (90) days after receipt of this Directive identify and sample all
potable wells within 500 feet down gradient, 500 feet side gradient and 250
feat up gradient of each previously identifled impacted potable well, pursuant
to NJAC, 7:26E-1.44.

d) Within one hundred twenty (120) days after receipt of this Directive
implement treatment and monitoring, in accordance with NJAC, 7:26E-1,.14,
for potable wells with documented exceedances of the 13 ppt PFNA MCL
attributable to the Site, and/or with documented exceedances of the 14 ppt
action level for PFOA,

65. Solvay shall submit an updated Remediation Cost Review and Remediation Funding
Source/Financial Assurance Form to include the cost of additionally required potable sampling
and implementation of treatment and monitoring.

66, Payments made pursuant to paragraphs 47, 48 and 63 above shall be made by certifled check or
cashler's check payable to “Treasurer, State of New Jersey” and mailed to:

Division of Revenue and Enterprise Services
P.Q. Box 417
Trenton, New Jersey 02646-0417

With a copy to:

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Catherine R, McCabe

Commissioner

New Jersey Department of Environmental Protection
401 East State Street

Trenton, New Jersey 08625

Funding of Future Costs of Investigation, Treatment, Cleanup and Removal, and Liability of the
Spill Fund

67. Respondents, within 30 days of receipt of this Dlrectiva, shall meet collectively with the
Department to discuss a good falth estimate for fyture costs to Investigate, test, treat, cleanup,
and remove PFNA, PFOA, and PFOS from New Jersey's environment and discuss Respondent's
establishment of funding sources for same. Future costs include, but are not Iimited to:

a. The Department's continued studies and research on the presence of PFAS in New
Jersey's environment, as referenced above in paragraphs 49 to 54;

b. Costs to investigate, test, treat, remediate, clean up and remove PFNA, PFOA and PFOS
from New Jersey's drinking water systems and waste water systems; -

c, Costs to investigate, test, treat, remediate, clean up and remove PFNA, PFOA and PFOS
from New Jersey's private drinking water wells and irrigation wells;

d. Costs to investigate, test, treat, remediate and clean up and remove PFNA, PFOA and
PFOS from New Jersey's natural resources, Including alr, groundwater, surface water, soil,
sediments and biota;

e. Costs of assessment, replacement, restoration and compensation for all injured natural
resources, including but not limited to, all lost use and value and ecological injury;

f, All damages incurred by persons other than the State who are injured by the conduct of
Respondents and recoverable by the Department on their behalf;

g. All damages and economic impacts incurred by the State as a result of the conduct of
Respondents; and

h. All Habilities and damages incurred by the Spill Fund as a result of the conduct of
Respondents,

information Related to Historic Use of PENA, PFOA and PFOS, and Current Use of Replacement
Chemicals

68. Each Respondent, as applicable, within 21 days of receipt of this Directive, shall provide the
following Information to the Department regarding its historic use of PFNA, PFOA and/or PFOS in
New Jersey:

a. Identify all PFNA, PFOA and PFOS manufactured, supplied, transported, stored, used,
treated, disposed, arid/or discharged in New Jersey;

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b, identify the nature, extent, source and location of discharges of PFNA, PFOA and PFOS
into the waters of the State;

c. Identify the nature, extent, source and location of emissions of PFNA, PFOA and PFOS Into
alr;

d, If the Respondent is not the manufacturer, supplier, or transporter of PFNA, PFOA and
PFOS, identify any such manufacturer, supplier or transporter; and

e. The Respondent's ability to pay for, or perform, the cleanup and removal of PENA, PFOA
and PFOS from New Jersey's environment, and every “change of ownership” (as defined
in NJS.A, § 13:LK-8} involving Respondents’ current or former sites In New Jersey.

69. Each Respondent, as applicable, within 21 days of recelpt of this Directive, shall provide the
following information to the Department regarding its use of PFAS replacement chemicals (i.e,
those short-chain PFAS chemicals used In any manufacturing process as a replacement for PFNA,
PFOA and/or PFOS) In New Jersey:

a. tdentify all replacement chemicals manufactured, transported, stored, used, treated,
disposed, and/or discharged in New Jersey, and the toxic characteristics of any such
chemicals;

b. Identlfy the nature, extent, source and location of discharges of replacement chemicals
into the waters of the State;

c, Identify the nature, extent, source and location of emissions of replacement chemicals
Into afr;

d, If the Respondent is not the manufacturer or transporter of the replacement chemicals,
identify any such manufacturer or transporter; and

e, The Respondent's abllity to pay for, or perform, the cleanup and removal of replacement
chamicals from New Jersey's environment.

70. Each Respondent, as applicable, in responding to the above-referenced information requasts,
must conduct a diligent search of its records and make reasonable inquires of its employees, and
further has the continuing obligation to supplement such information if additional relevant
information Is discovered, or if it determines Information previously provided to the Department
was false, inaccurate or misleading. N.J.S.A. 58-10A-10,3c(1)-(2}.

71. For the avoidance of doubt, this Directive is not a formal enforcement order, a final agency action
or a final legal determination that 4 violation has occurred, This Directive is not subject to pre-
enforcement review and may not be appealed or contested.

NOTICE

72, Failure to comply with this Directive-and Notice to Insurers will increase Respondents’ potential
liability to the Department in an amount equal to three (3) times the cost of arranging for the
cleanup and removal of the discharge and may cause a llen to be placed an Respondents’ real and

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personal property pursuant to the Spill Act, N.J.S.A. 58:10-23.11f, including a first priority len on
the properties where the discharge(s} have occurred.

73. Pursuant to N.LS.A, 58:10-23.4.1u., NSA. 58:10A-10, NULS.A. 26:2C-9, and NS.A, 13;1E-9, the
Department may require through a court action compliance with the Spill Act, WPCA, APCA, and
SWMA, Failure by Respondents to comply with this Directive may result in an enforcament action
by the Department, which will subject each Respondent to penalties of up to $50,000 per day and
each day of violation constitutes an additional, separate and distinct violation. ,

RESERVATION OF RIGHTS

74, The Department reserves the right to direct Respondents to take or arrange for the taking of any
additional remediation that the Department determines to be necessary to protect the public
health and safety and/or the environment and to seek full reimbursement and treble damages
for all costs incurred In taking such additional remediation if Respondents fail to comply with the
applicable provisions of this Directive.

75. The Department reserves all rights and remedies under the Spill Act, WPCA, SWMA and APCA as
well as all other applicable statutes not set forth herein and the common law of New Jersey,
Including {ts right to bring an action in the Superior Court for appropriate relief.

NOTICE TO INSURERS

76, Pursuant to NJ.S.A. 58:10-23.118, any claims for costs of cleanup or damages by the State may be
brought directly against the bond, Insurer or any other person providing evidence of financial
responsibllity, and Respondents are directed. to put their Insurers on notice of such.

NEW JERSEY DEPARTMENT OF
ENVIRONMENTAL PROTECTION

DATE: March 25, 2019 By! th
Catherine R, McCabe, Commissioner

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